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                                                                             FILED
                  IN THE UNITED STATES DISTRICT COURT                         JUL 2 8 2016
                                                                           Clerk, U.S. District Court
                      FOR THE DISTRICT OF MONTANA                            Drstrict Of Montana
                                                                                    Helena


                                 BUTTE DIVISION

GINA JAEGER, individually, AND
AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF HER SISTER                       No. CV 16-30-BU-SEH
CHARLENE HILL,

                            Plaintiff,            ORDER

 vs.

 GENESIS HEALTHCARE, INC.,
 d/b/a THE BUTTE CENTER, JOHN
 DOE LLC's 1-10; JOHN DOE, INC.,
 1-10
      '
                            Defendants

       Upon the record made in open court on July 26, 2016,

       ORDERED:

       1.      Defendant Genesis Healthcare, Inc. is dismissed as a party Defendant

without prejudice. Plaintiff may file an amended complaint appropriately

identifying all persons and entities against whom liability is claimed on or before

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August 5, 2016.

      2.       Defendants may file, on or before August 12, 2016, an amended

notice of removal incorporating the basis of this Court's jurisdiction under 28

U.S.C. § 1332 including diversity of citizenship of the parties and the amount in

controversy.

      3.       Plaintiff shall have until August 12, 2016, in which to respond to

Defendants' amended noti~ of removal.

      DATED thi'        /, 7,,_day ofJuly, 201 ~                f lf,,..c!~
                                                 I   S'.i\M E. HADDON               I

                                                     United States District Judge




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